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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     NETLIST, INC.,                                    Case No. 09-cv-05718-RS (JCS)
                                                        Plaintiff,                         ORDER DENYING WITHOUT
                                   8
                                                                                           PREJUDICE JOINT DISCOVERY
                                                 v.                                        LETTER AND VACATING HEARING
                                   9
                                         GOOGLE, LLC,                                      Re: Dkt. No. 315
                                  10
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          In light of the STAY of this action, the Joint Discovery Letter (ECF #315) is DENIED

                                  14   without prejudice to refiling the Joint Discovery Letter when the STAY is lifted. Before refiling

                                  15   the Joint Discovery Letter, however, the parties shall meet and confer again regarding the dispute

                                  16   in order to take into account (1) any developments that will have occurred between now and the

                                  17   renewed Joint Discovery Letter, and (2) Judge Seeborg’s order denying Netlist leave to amend its

                                  18   infringement contentions (ECF #324).

                                  19          The discovery hearing set for July 15, 2022, at 9:30 AM is VACATED.

                                  20          IT IS SO ORDERED.

                                  21   Dated: July 13, 2022

                                  22                                                   ______________________________________
                                                                                       JOSEPH C. SPERO
                                  23                                                   Chief Magistrate Judge
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